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is 44 (Re\@ 06,/17)

CIVIL COVER SHEET

The ._1S 44 civil cover sheet and the information contained herein'neither replace nor supplement the filing and Service 01` pleadings or other papers as required by law. except as
provided by local rules 01"'court. This form, approved by the ludicial Conference ol` the Uniled Slates in Sepiember 1974` is required for the use of the Clerk 01` Court for the
purpose of initiating the civil docket sheet (.3'13`15 livS'/'i'el/C'H()i\i'(’)/v N/;;\"/‘P.¢iGEOF7H1.s"11‘01m)

 

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113 North Broad Street
Lancaster, PA 17602

(b) County of Residence 0f1"`irst Listed Plaintiff
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(C) AftOrnCyS _/Fi/'m Name. Addre.s',x and 712/211/11))1€ Numbcrj`
, Rankin & Gregory, LLC 2173 Embassy Drive,
l_ancaster, PA 17603, Telephone: (717) 406-3216

Chad E_ Rankin, Esquire

231 1 1
Lancaster County, PA

NOTE:

Attorneys _r!/`Kmm»n)
Unl<nown.

 

County of Residence of 1"irst L.isted Defendant

Jeli)c:§}§l.£ldgé?<§§§? Rosebud Run, Aylett, VA 23009-3141
Recycled Pal|ets, |nc., 7423 Johnsonvi|le Way, Mechanicsville, VA

King Wi||iam County, VA

(IN U.S. 1»’[./1]./\17‘11"/9` C.'AS}'.`S ()N/', )`)

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& Enforcement of Judgment

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152 Recovery ofDefaul\ed
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195 Contraci Produci Liability

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D 245 Tort Prnduct Liability
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fl 375 P`ulse Claims Act

fl 376 Qui `l`am (31 USC
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fl 400 State Rcapportionment

fl 410 r'\ntitrust

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VI. CAUSE OF ACTlON

VIl. REQUESTED IN

28 U.S.C. Section 1332
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CHECK YES only if demanded in complaint

 

 

 

 

COMPLAINT: UNDER RULE 23..1"-R.C\'.P. |n excess of $150,000.00. JURY DEMAND: i:l Yes )ANO
vm. RELATED CASE(S) 7
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RECEIPT # AMOUNT APPLYING IFP .1 L§DGE MAG. JUDGE

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

JOCELYN I. SANCHEZ : CIVIL ACTION
113 N. Broad Street :
Lancaster, PA 17602 : NO.
Plaintiff '
v.

JACK S. MOORE

347 Rosebud Run
Aylett, VA 23009-3141
Defendant
and

RECYCLED PALLETS, INC.

7423 Johnsonville Way,

Mechanicsville, VA 231 11
Defendant

 

COMPLAINT

Plaintiff, Jocelyn I. Sanchez, by and through her attorneys, RANKIN & GREGORY,

LLC, does hereby file the instant Complaint upon the following cause:
PARTIES

1. Plaintiff, Jocelyn I. Sanchez (hereinafter referred to as “SANCHEZ”) is an adult
individual and citizen of the Commonwealth of Pennsylvania, residing therein at 113 N. Broad
Street, Lancaster, PA 17602.

2. Defendant, Jack S. Moore (hereinafter referred to as “MOORE”) is an adult
individual and citizen of the Cornrnonwealth of Virginia, residing therein at 347 Rosebud Run,
Aylett, VA 23009-3141.

3. At all times material hereto, MOORE acted and/or failed to act in his

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individual capacity and by and through his duly authorized agents, servants, Workmen and/or
employees, Who Were acting Within the course and scope of their employment(s) and/or
authority(ies); the same direct, apparent, implied and/or ostensible, and by virtue of said agency,
at all times material, MOORE is also vicariously liable for said acts and/or failure to act.

4. Recycled Pallets Inc. (hereinafter referred to as “RECYCLED PALLETS”), is a
corporation, incorporated in the Commonwealth of Virginia, With its corporate headquarters
located at 7423 Johnsonville Way, Mechanicsville, VA 23111.

5. At all times material hereto, RECYCLED PALLETS acted and/or failed to act in
its corporate capacity and by and through its duly authorized agents, servants, Workmen,
employees, and/or contractors, Who Were acting within the course and scope of their
employment(s) and/or authority(ies); said agency including, but not limited to actual, implied,
apparent and/or ostensible agency; and by virtue of said agency; at all times material,
RECYCLED PALLETS is also vicariously liable for the negligence and breach of duty(ies) Of
said agents, servants, Workmen, employees, and/or contractors as more fully set forth herein.

JURISDICTION & VENUE

6. lurisdiction and venue are proper in the Eastern District of Pennsylvania since the
parties are residents of different states, the amount in controversy is above $150,000.00, and the
incident occurred Within said district

MC_T_S
7. Paragraphs 1 through 6 of this instant Complaint are hereby incorporated as

though the same Were set forth at length herein.

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8. On or about October 19, 2015, at approximately 11:50 p.m., SANCHEZ was
operating a motor vehicle in a westerly direction on U.S. Route 30 in East Hempfield Township,
Lancaster County, Pennsylvania.

9. On or about October 19, 2015, at approximately 11:50 p.m., MOORE was
operating a loaded tractor trailer in an easterly direction on U.S. Route 30 in East Hemptield
Township, Lancaster County, Pennsylvania, while in the course and scope of his employment
with RECYCLED PALLETS.

10. At a location just west of the Running Pump Road overpass on U.S. Route 30 in
East Hernpfleld Township, Lancaster County, Pennsylvania, MOORE suddenly and
unexpectedly crashed through the metal guardrail that separated the east and west bound lanes of
travel on U.S. Route 30, and entered the path of travel of SANCHEZ.

l 1. SANCHEZ swerved her vehicle to avoid being struck by the loaded tractor trailer
operated by MOORE, but was unable to avoid being struck by a large piece of the guardrail
through which MOORE crashed.

12. As a result of the abrupt evasive actions taken by SANCHEZ, and being struck by
the large piece of the guardrail through which MOORE crashed, SANCHEZ sustained injuries,
damages, and losses, as more fully set forth hereinafter.

COUNT I - NEGLIGENCE
JOCELYN I. SANCHEZ v. JACK S. MOORE

13. Paragraphs 1 through 12 of the instant Complaint are hereby incorporated as
though the same were set forth at length herein.
14. The negligent and/or reckless conduct of MOORE Was a factual cause of the

injuries, damages and losses sustained by SANCHEZ, as more fully set forth hereinafter

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15 . The negligence and recklessness of MOORE consisted of the following non-

exclusive particulars:

3.

operating a commercial motor vehicle while his ability to drive, or
alertness, was so impaired through fatigue as to make it unsafe for him to

continue to operate the commercial motor vehicle in violation of 49 C.F.R.
§392.3;

violating the maximum driving time requirements for property-carrying
vehicles in violation of 49 C.F.R. §395.3;

failing to properly record his driver's duty status in violation of 49 C.F.R.
§395.8;

continuing to drive a loaded tractor trailer while sleepy;
falling asleep while driving a loaded tractor trailer resulting in the tractor
trailer crashing through a metal guardrail designed to separate east and

west bound travel on U.S. Route 30 into the path of SANCHEZ;

crashing through a metal guardrail designed to separate east and west
bound travel on U.S. Route 30 into the path of SANCHEZ;

failing to properly operate, maintain and/or control his loaded tractor
trailer;

failing to maintain a reasonable and/or adequate lookout in the operation
of his loaded tractor trailer;

operating his loaded tractor trailer at an unreasonable and/or unsafe rate of
speed under the circumstances;

failing to remain in his own lane of travel;

failing to take reasonable actions to avoid the incident described in the
instant Complaint;

failing to reasonably maintain, inspect and/or otherwise provide for the
safe operation of the loaded tractor trailer he was operating;

operating a commercial motor vehicle in violation of the traffic laws of the
Commonwealth of Pennsylvania in violation of 49 C.F.R. §392.2;

operating his loaded tractor trailer in violation of the statutes of the
Commonwealth of Pennsylvania governing the operation of motor

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vehicles, including but not limited to, those statutes encompassing the acts
of negligence alleged herein, all of which render MOORE negligent per se
including but not limited to, 75 Pa. C.S.A. §§3309, 3311, 37l4, 3736 and
4107(b.l); and
o. failure to exercise reasonable care under the circumstances alleged herein;
l6. The negligent and/or reckless conduct of MOORE Was a factual cause in
SANCHEZ sustaining personal injuries and damages as a result of the October 19, 2015 incident,
including, but not limited to, threatened preterm labor, sacroiliac joint dysfunction, sacroiliitis,
greater trochanteric bursitis of the right hip, spondylosis, or the aggravation thereof, of the
lumbosacral region, anxiety, aggravation of migraine headaches, and aggravation of seizure
disorder/pseudo-seizures, some of Which said injuries and/or damages are and/or maybe
continuous and/or permanent in nature With additional concomitant injuries, damages and losses
resulting therefrom.

l7. The negligent and/or reckless conduct of MOORE Was a factual cause in

SANCHEZ suffering the following damages:

a. past, present and future pain and suffering;
b. past, present and future emotional suffering;
c. past, present and future physical limitations and loss of use of the injured

parts of her person;

d. past, present and future loss and/or impairment of eamings, earnings
benefits and/or earning capacity;

e. past, present and future loss of the ability to carry out her customary and
usual duties and activities;

f. past, present and future medical expenses, to the extent authorized by law;
g. past, present and future loss of daily enjoyment of life and life’s pleasures;
h. humiliation and embarrassment;

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i. additional injuries, damages and losses not yet determined given the
ongoing nature of her symptoms and complaints

WHEREFORE, Plaintiff, Jocelyn l. Sanchez, demands judgment against Defendant, lack
S. Moore, in an amount in excess of 3150,000.00, together with punitive damages, interest, costs
and additional relief as this Honorable Court deems appropriate

COUNT II- NEGLIGENCE
JOCELYN I. SANCHEZ v. RECYCLED PALLETS INCORPORATED

18. Paragraphs l through 17 of the instant Complaint are hereby incorporated as
though the same were set forth at length herein.

19. At all times material hereto, the negligent and/or reckless conduct of MOORE
was a factual cause of the injuries, damages and losses sustained by SANCHEZ, as more fully
set forth herein.

20. RECYCLED PALLETS owned the tractor trailer that was permissively driven by
MOORE at the time of the October 19, 2015 incident described herein.

21. RECYCLED PALLETS is vicariously liable for the negligence and/ or
recklessness of its employee, MOORE, on the basis of respondeat superior, for the reasons set
forth in paragraph 15 of the instant Complaint

22. Additionally, RECYCLED PALLETS' own negligence and/or recklessness was a
factual cause of the injuries, damages and losses sustained by SANCHEZ, as more fully set forth
hereinafter.

23. The negligence and recklessness of RECYCLED PALLETS consisted of the
following non-exclusive particulars:

a. permitting MOORE to operate a commercial motor vehicle While his

ability to drive, or alertness, was so impaired through fatigue as to make it
unsafe for him to do so in violation of 49 C.F.R. §392.3;

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i.

permitting MOORE to violate the maximum driving time requirements for
property-carrying vehicles in violation of 49 C.F.R. §395.3;

failing to have MOORE properly record his driver's duty status in
violation of 49 C.F.R. §395.8;

failing to properly ascertain the competency of MOORE as a commercial
motor vehicle operator before hiring him;

hiring MOORE;

failing to properly train MOORE in the safe operation of a commercial
motor vehicle, especially with reference to driving while fatigued or
sleepy;

failing to reasonably maintain, repair, inspect, and/or otherwise provide
for the safe operation of the tractor trailer operated by MOORE under the
circumstances;

negligently entrusting the tractor trailer operated by MOORE to him,
when it knew or should have known and/or discovered that said

entrustment Was unreasonable and/or unsafe under the circumstances; and

failing to use reasonable care under the circumstances alleged herein.

The negligent and/or reckless conduct of RECYCLED PALLETS Was a factual

resulting therefrom.

cause in SANCHEZ sustaining personal injuries and damages as a result of the October l9, 2015
incident, including, but not limited to, threatened preterm labor, sacroiliac joint dysfunction,
sacroiliitis, greater trochanteric bursitis of the right hip, spondylosis, or the aggravation thereof,
of the lumbosacral region, anxiety, aggravation of migraine headaches, and aggravation of
seizure disorder/pseudo-seizures, some of which said injuries and/or damages are and/or maybe

continuous and/or permanent in nature With additional concomitant inj uries, damages and losses

The negligent and/or reckless conduct of RECYCLED PALLETS was a factual

a.

cause in SANCHEZ suffering the following damages:

past, present and future pain and suffering;

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b. past, present and future emotional suffering;

c. past, present and future physical limitations and loss of use of the injured
parts of her person;

d. past, present and future loss and/or impairment of eamings, earnings
benefits and/or earning capacity;

e. past, present and future loss of the ability to carry out her customary and
usual duties and activities;

f. past, present and future medical expenses, to the extent authorized by law;
g. past, present and future loss of daily enjoyment of life and life’s pleasures;
h. humiliation and embarrassment;

i. additional injuries, damages and losses not yet determined given the

ongoing nature of her symptoms and complaints.
WHEREFORE, Plaintiff, Jocelyn I. Sanchez, demands judgment against Defendant,
Recycled Pallets Inc., in an amount in excess of $150,000.00, together with punitive damages,

interest, costs and additional relief as this Honorable Court deems appropriate

RESPECTFULLY SUBMITTED,

RANKIN & GREGORY, LLC

Date: September 7, 2017 By: @/( § )/7

Chad E. Rankin, Esquire
Attorney I.D. # 87896

2173 Embassy Drive
Lancaster, PA 17603
Telephone: (717) 406-3216
Attomey for Plaintiff

 

